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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Case No.: 21-CR-508 (BAH)
LUKE WESSLEY BENDER and                      :
LANDON BRYCE MITCHELL                        :
                                             :
               Defendants.                   :

                       GOVERNMENT’S RESPONSE TO COURT ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Court’s electronic minute order

dated April 13, 2023.

       The United States believes that the photo and video evidence identified in the

Government’s stipulated trial Exhibit Lists, ECF Nos. 91 and 92, may be made publicly available

without restriction.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052


                                      By:    /s/ Jordan A. Konig
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                                             /s/ Samantha R. Miller
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